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 4   Fresno, California 93721
     Telephone: (559) 498-7272
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 6
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                  EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                     )   1:10-cr-287 OWW
                                                   )
10                         Plaintiff,              )   ORDER ON STIPULATION TO CONTINUE
                                                   )   MOTIONS HEARING
11                                                 )
                                    v.             )   DATE: January 24, 2010
12                                                 )   HONORABLE Oliver W. Wanger
     FERNANDO AVILA,                               )
13   et. al.,                                      )
                           Defendants.             )
14                                                 )
                                                   )
15
             The United States of America, by and through BENJAMIN B. WAGNER, United States
16
     Attorney, and KATHLEEN A. SERVATIUS, Assistant United States Attorney, and the defendant,
17
     Fernando Avila, by and through his attorney of record, Anthony P. Capozzi, have stipulated and
18
     agreed to continue the hearing on the defendant’s Motion to Revoke Magistrate’s Order of
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     Detention, previously scheduled for hearing on January 24, 2011, at 1:30 p.m., to January 31, 2011,
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     at 1:30 p.m. The Status Conference set for all defendants is not being continued and will take place
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     as scheduled on January 24, 2011.
22
             IT IS SO ORDERED.
23
             IT IS FURTHER ORDERED, that time be excluded to and through the date of the court’s
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     decision on the motions due to the pendency of the defendants’ motions. See 18 U.S.C. §
25
     3161(h)(1)(D).
26
     ///
27
     ///IT IS SO ORDERED.
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 1   Dated: January 18, 2011                /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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